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Fill in this information to identify your case:

United States Bankruptcy Court for the:

CENTRAL DISTRICT OF CALIFORNIA

Case number (if known)                                                     Chapter      11
                                                                                                                         Check if this an
                                                                                                                            amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                         06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                MASHindustries, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed          DBA Mash Industries, Inc.
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                   Mailing address, if different from principal place of
                                                                                                business

                                  7150 Village Drive
                                  Buena Park, CA 90621
                                  Number, Street, City, State & ZIP Code                        P.O. Box, Number, Street, City, State & ZIP Code

                                  Orange                                                        Location of principal assets, if different from principal
                                  County                                                        place of business

                                                                                                Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       https://www.mashindustries.com/


6.   Type of debtor                Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                   Partnership (excluding LLP)
                                   Other. Specify:




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          Name



7.   Describe debtor's business        A. Check one:
                                        Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                        Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                        Railroad (as defined in 11 U.S.C. § 101(44))
                                        Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                        Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                        Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                        None of the above
                                       B. Check all that apply
                                        Tax-exempt entity (as described in 26 U.S.C. §501)
                                        Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                        Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                3372

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?
                                        Chapter 7
     A debtor who is a “small           Chapter 9
     business debtor” must check        Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                             operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                             A plan is being filed with this petition.
                                                             Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                             The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                        Chapter 12
9.   Were prior bankruptcy
     cases filed by or against
                                        No.
     the debtor within the last 8       Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                               When                                Case number
                                                 District                               When                                Case number




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          Name

10. Are any bankruptcy cases
    pending or being filed by a
                                            No
    business partner or an                  Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                         Debtor                                                                   Relationship
                                                    District                                When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                             Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                              preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                             A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or
    have possession of any
                                        No
    real property or personal           Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                          Why does the property need immediate attention? (Check all that apply.)
                                                   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                     What is the hazard?
                                                   It needs to be physically secured or protected from the weather.
                                                   It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                     livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                   Other
                                                  Where is the property?
                                                                                   Number, Street, City, State & ZIP Code
                                                  Is the property insured?
                                                   No
                                                   Yes. Insurance agency
                                                               Contact name
                                                               Phone



          Statistical and administrative information

13. Debtor's estimation of             .       Check one:
    available funds
                                                Funds will be available for distribution to unsecured creditors.
                                                After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                 1-49                                           1,000-5,000                               25,001-50,000
    creditors                           50-99                                          5001-10,000                               50,001-100,000
                                        100-199                                        10,001-25,000                             More than100,000
                                        200-999

15. Estimated Assets                    $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                        $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                        $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                        $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion

16. Estimated liabilities               $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion

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         Name

                                 $50,001 - $100,000                       $10,000,001 - $50 million              $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                      $50,000,001 - $100 million             $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                    $100,000,001 - $500 million            More than $50 billion




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      Fill in this information to identify the case:

                  MASHindustries , Inc.
      Debtor name __________________________________________________________________
                                              Central
      United States Bankruptcy Court for the: ______________________              California
                                                                     District of _________
                                                                                (State)
                                                                                                                                              Check if this is an
      Case number (If known):   _________________________
                                                                                                                                              amended filing




    Official Form 204
    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest
    Unsecured Claims and Are Not Insiders                                    12/15

    A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
    disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
    secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
    largest unsecured claims.


     Name of creditor and complete           Name, telephone number, and      Nature of the claim Indicate if   Amount of unsecured claim
     mailing address, including zip code     email address of creditor        (for example, trade claim is      If the claim is fully unsecured, fill in only unsecured
                                             contact                          debts, bank loans,  contingent, claim amount. If claim is partially secured, fill in
                                                                              professional        unliquidated, total claim amount and deduction for value of
                                                                              services, and       or disputed collateral or setoff to calculate unsecured claim.
                                                                              government
                                                                              contracts)
                                                                                                                   Total claim, if   Deduction for      Unsecured
                                                                                                                   partially         value of           claim
                                                                                                                   secured           collateral or
                                                                                                                                     setoff

1




2




3




4




5




6




7




8




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    Debtor       MASHindustries , Inc.
                 _______________________________________________________                     Case number (if known)_____________________________________
                 Name




     Name of creditor and complete         Name, telephone number, and   Nature of the claim Indicate if   Amount of unsecured claim
     mailing address, including zip code   email address of creditor     (for example, trade claim is      If the claim is fully unsecured, fill in only unsecured
                                           contact                       debts, bank loans,  contingent, claim amount. If claim is partially secured, fill in
                                                                         professional        unliquidated, total claim amount and deduction for value of
                                                                         services, and       or disputed collateral or setoff to calculate unsecured claim.
                                                                         government
                                                                         contracts)
                                                                                                              Total claim, if   Deduction for      Unsecured
                                                                                                              partially         value of           claim
                                                                                                              secured           collateral or
                                                                                                                                setoff


9




10




11




12




13




14




15




16




17




18




19




20




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Amazon Business
Amazon Capital Services
PO Box 035184
Seattle, WA 98124-5184

American Express
PO Box 650448
Dallas, TX 75265-0448

Architectural Millwork Installers Inc
1230 Madera Rd Ste 5174
Simi Valley, CA 93065-4045

AT and T
PO Box 5014
Carol Stream, IL 60197

Atlas Sheet Metal, Inc
Raelene Pace
19 Musick
Irvine, CA 92618

Bay Alarm Company
PO Box 7137
San Francisco, CA 94120-7137

Biesse America Inc
PO Box 19849
Charlotte, NC 28219

Big Red Machine Shop
2522 North Ontario St.
Burbank, CA 91504

Billd Exchange, LLC
3800 N Lamar Blvd
No. 210
Austin, TX 78756
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BSP VBP PROPCO LLC
7420 S Kyrene Road
Suite 101
Tempe, AZ 85283

California Building Care Inc
23986 Aliso Creek Road
Laguna Niguel, CA 92677

California Department of Tax and Fee Administration
450 N Street
Sacramento, CA 95814-4311

California Department of Tax and Fee Administration
PO Box 942879
Sacramento, CA 94279

California Office of the Attorney General
PO Box 944255
Sacramento, CA 94244-2550

California Panel and Veneer Co.
14055 Artesia Blvd
Cerritos, CA 90703-3250

California Timberline Inc
PO Box 149
Chino, CA 91708

Charles McMurray Company
Charles McMurray
PO Box 569
Fresno, CA 93709-0509

Chase - 7004 Equipment Loan
PO Box 44959
Indianapolis , IN 46244-4959
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Chase Bank
13350 West Park Ave., Ste A1
Boulder Creek, CA 95006

Chase VISA
PO Box 6294
Carol Stream, IL 60197-6294

Citizens Business Bank
23046 Avenida De La Carlota, Suite 100
Laguna Hills, CA 92653

City of Buena Park
Attn: Finance Department
PO Box 5009
Buena Park, CA 90622-5009

City of Los Angeles
Office of Finance Special Desk Unit
200 North Spring Street, Room 101
Los Angeles, CA 90012

Coast To Coast Metal Finishing Corp
401 South Raymond Avenue
Alhambra, CA 91803

CPS Garten Corporation
25172 ARCTIC OCEAN DR
Suite 108
Lake Forest, CA 92630-8848

Custom Installations
1939 Friendship Drive Suite B
EL Cajon, CA 92020

Drawer Box Specialties
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E.B. Bradley
1150 N. Red Gum
Anaheim, CA 92806

Employment Development Department
PO Box 826880
Sacramento, CA 94280

Fantastic Wood Coatings
1260 West Holt Boulevard
Ontario, CA 91762

First Interstate Mastercard
PO Box 241826
Omaha , NE 68124

Flores Marble and Granite
533 South Central Park Avenue West
Anaheim, CA 92802

Forest Plywood - MI
14711 Artesia Blvd
La Mirada, CA 90638

Frama-Tech Inc.
8851 Navarre Parkway
Navarre, FL 32566

Frank Recruitment Group
501 East Kennedy Blvd
Suite 1900
Tampa, FL 33602

G and G Millwood Installation Inc.
591 N. Heatherstone Dr
Orange, CA 92869
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Gaslamp Insurance
2244 Faraday Ave
No. 125
Carlsbad, CA 92008

GL Veneer Company, Inc.
2224 East Slauson Avenue
Huntington Park, CA 90255

GLC Millworks
100 W. Walnut Ave.
Fullerton, CA 92831

Go To Communications, Inc
PO Box 412252
Boston, MA 02241-2252

Grainger Industrial Supply
310 East Ball Road
Anaheim, CA 92805

Guardian
PO Box 677458
Dallas, TX 75267-7458

Hardwoods Specialty Products US LP
PO Box 741685
Los Angeles, CA 90074-1685

Haskell and White LLP
300 Spectrum Center Drive
Suite 300
Irvine, CA 92618

Hedrick Fire Protection
13309 Central Avenue
Chino, CA 91710
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Hexagon Manufacturing Intelligence Inc
Lockbox 771742
1742 Solutions Center
Chicago, IL 60677

Highland Lumber Sales, Inc
300 E. Santa Ana St.
Anaheim, CA 92805

Humanscale Corporation
220 Circle Drive North
Piscataway, NJ 08854

IDS Interior Detail Solution
Kurt Cledjo
354 Pointe Drive
Brea, CA 92821

Internal Revenue Service
PO Box 7346
Philadelphia, PA 19101-7346

IPFS Corporation of California
PO Box 100391
Pasadena, CA 91189-0391

Jpmorgan Chase Bank, NA
Collateral Mgmt Small Business
PO Box 33035
Louisville, KY 40232-9891

Kairos Tooling
13000 Arctic Circle
Santa Fe Springs, CA 90670

King of Finishing, Inc.
1478 Heatherton Ave
Rowland Heights, CA 91748
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L and W Supply
300 South Riverside Plaza
Suite 200
Chicago, IL 60661

Leuco Tool Corporation
PO Box 96330
Charlotte, NC 28296-0330

Lumicor, Inc
1400 Monster Road SW
Renton, WA 98057

MASHindustries, Inc.
c o BG Law
Attn: Susan K. Seflin
7150 Village Dr
Buena Park, CA 90621

McMaster-Carr Supply Co.
PO Box 7690
Chicago, IL 60680-7690

Nace Sheet Metal Corp
1384 N Hundley Street
Anaheim, CA 92806

National Marble and Architectural Stone, Inc
841 Rainbow Dr.
Glendora, CA 91741

National Search Group Inc.
17670 NW 78th Avenue, Uni 103
Hialeah, FL 33015

Next Level Installations LLC
13518 S. Normandie Ave.
Gardena, CA 90249
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Noe Tellez
3122 Mangum Street
Baldwin Park, CA 91706

NuWorld Business Systems
13125 Midway Place
Cerritos, CA 90703-2232

Occupational Health Centers of California, A Medical Corp
28035 Avenue Stanford
Santa Clarita, CA 91355

OpenWorks
2355 E Camelback Rd.
Suite 600
Phoenix, AZ 85016

Orange Aluminum Corporation
13111 Meyer Road
Santa Fe Springs, CA 90605

Orange Courier, Inc.
15300 Desman Rd.
La Mirado, CA 90638

Ortiz Custom Upholstery, Inc
4346 East La Palma Avenue
Anaheim, CA 92807

Pac Com Abrasives and Supplies Inc
13564 Larwin Circle
Santa Fe Springs, CA 90670

Pacific Coast Propane Llc
539 W Main St
ontario, CA 91762
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Pacific Upholstery
325 E. Alondra Blvd.
Gardena, CA 90248

Paychex 401K
1535 Scenic Ave
Suite 100
Costa Mesa, CA 92626

Phillips Plywood Company, Inc.
13599 Desmond Street
Pacoima, CA 91331

PRL Glass
13644 Nelson Avenue
City of Industry, CA 91746

Quench USA, Inc
PO Box 735777
Dallas, TX 75373-5777

R Laser and Water Jet Inc.
2311 Seaman Ave
South El Monte, CA 91733

Randstad Engineering

Revelations Integrated Services Inc.
176 W. Pomona Ave
Monrovia, CA 91016

Richelieu
18747 Clarkdale Ave
Artesia, CA 90701
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RingCentral
PO Box 734232
Dallas, TX 75373-4232

Robert Rivas
47 Bayshore Ave No. 4
Long Beach, CA 90803

Royal Plywood Company, Llc
PO Box 728
La Mirada, CA 90637-0728

Royal Plywood Company, LLC
Royal Plywood Company
PO Box 728
La Mirada, CA 90637-0728

RRS Finishers Group, LLC
9718 Alexander Avenue
APT B
South Gate, CA 90280

Rubio Monocoat USA, LLC
22111 State Highway 71
301
Spicewood, TX 78669

SC Fuels
1800 W Katella Ave
Orange, CA 92867

SG cad Inc.
1603 E. Cache La Poudre
Colorado Springs, CO 80909

Sherwin Williams
8061 Orangethorpe Ave
Buena Park, CA 90621
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Sierra Forest Products
15501 Mosher Ave
Tustin, CA 92780

Singerlewak LLP - MI
10960 Wilshire Blvd
Los Angeles, CA 19605

Skillset Group
3631 S Harbor Blvd, 130
Santa Ana, CA 92704

Smash My Trash Northwest Anaheim
R and F Partners
11518 Telegraph Road
Suite No. 237
Santa Fe Springs, CA 90670

Spectrum Enterprise
Charter Communications
Box 223085
Pittsburgh, PA 15251-2085

Stiles Machinery Inc
3965 44th St., SE
Grand Rapids, MI 49512

Summa Solutions, Inc.
1309 Hunter Street
York, SC 29745

Talbert Architectural Panel and Door, Inc
711 S Stimson Ave
City of Industry, CA 91745

The Cook and Boardman Group LLC
3064 Salem Industrial Drive
Winston Salem, NC 27127
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Tile Expo Inc
1360 S State College Blvd
Anaheim, CA 92806

Toyota Financial
1230 Santa Monica Blvd
Santa Monica, CA 90404

U.S. Bank Equipment Finance
A Division Of U.S. Bank National Association
1310 Madrid Street
Marshall, MN 56258

U.S. Small Business Administration
1545 Hawkins Blvd, Suite 202
El Paso, TX 79925

Uline, Inc.
PO Box 88741
Chicago, IL 60680-1741

United Forklift
12401 Slauson Avenue
Whittier, CA 90606

United States Trustee SA
411 W Fourth St
Suite 7160
Santa Ana, CA 92701-4593

US Attorney for the Central District of California
David Harris, Chief, Civil Division
300 N. Los Angeles Street, 7th Floor
Office of the United States Attorney
Los Angeles, CA 90012

US Bank Equipment
PO Box 790448
St Louis, MO 63179-0448
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Vista Paint
2020 East Orangethorpe Avenue
Fullerton, CA 92831

West Coast Laminating, Inc.
1150 N. Red Gum
Unit A
Anaheim, CA 92806

Wired World
15055 Manzanares Road
La Mirada, CA 90638

Wood Repair Products, Inc.
616 North Eckhoff Street
Orange, CA 92868

Wurth Louis and Company

XpressMyself.com LLC
300 Cadman Plaza West
Ste 1303
Brooklyn, NY 11201

Z.E.M. Design
Jared Warner
8405 La Bajada Ave
Whittier, CA 90605
